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                             IN THE UNITED STATES DISTRICT COURT
                                                                                         FILED
                              FOR THE NORTHERN DISTRICT OF OHIO
                                          WESTERN DIVISION                            SEP 15 2022

     UNITED STATES OF AMERICA,                            INDICTMENT


                    Plaintiff,

             V.                                           CASE
                                                                 3b.:22 CR                       547
                                                                     Title 18, Umted"States Code,
     TERESIAM.IONES,                                                 Section 1028A; Title 18, United
                                                                     States Code,Section 1343; Title
                     Defendant.                                      18, United States Code,Section
                                                                     641; Title 18, United States
                                                                     Code,Section 1957; Title 18,
                                                                     United States Code, Section 2.

                                             INTRODUCTION


            1.      From at least January 30,2020,until the date ofthis indictment, TERESIA M.

     JONES,the Defendant, and others known and unknown,devised a scheme to defraud the Intemal

     Revenue Service by submitting false and fraudulent tax filings using stolen identities and claiming

     millions of dollars in improper tax refunds. JONES subsequently used the stolen funds for

     profligate personal spending.

                                      THE SCHEME TO DEFRAUD


            2.      The tax refund scheme generally worked as follows. TERESIA M.JONES

     obtained a wealth of stolen identity information for real individuals and businesses. Using various

     combinations ofthis stolen information, JONES filed fraudulent IRS Forms W-2,falsely claiming

     an identity theft victim had income tax withheld for wages paid by another identity theft victim.

     JONES would then electronically file a fraudulent IRS Form 1040 individual tax return on behalf

     ofthe identity theft victims, claiming a refund based on wages documented in the fraudulent

     Forms W-2. Consequently, the IRS had a Form W-2 indicating wages paid and taxes withheld for

     an individual along with a Form 1040 for that individual claiming a refund based on the Form W-2
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